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              IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION


WILLIAM DEMLER,

                  Plaintiff,

v.                                              CASE NO. 4:19cv94-RH-GRJ

MARK S. INCH,

                  Defendant.

___________________________/


                     ORDER DENYING THE MOTION TO DISMISS


         The plaintiff is a prisoner who asserts that, unless enjoined, the Department

of Corrections will soon deny him and other prisoners the ability to listen to music

they bought and the Department said they would be able to continue to use

throughout their periods of incarceration. The defendant Secretary of the

Department responded to the complaint by filing a motion for a more definite

statement under Federal Rule of Civil Procedure 12(e). The order of May 3, 2109

denied the motion. The Secretary now has moved to dismiss the complaint for

improper venue, lack of subject-matter jurisdiction, failure to state a claim, and

failure to join a required party. The supporting memorandum also asserts the

complaint should be dismissed for failure to exhaust administrative remedies.

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         Under the plain language of Rule 12(h)(1)(A), the Secretary waived the

venue defense by failing to include it in the motion for a more definite statement.

See 5C Charles A. Wright & Arthur R. Miller, Federal Practice and Procedure

§ 1388 (3d ed. Apr. 2019 update). The Secretary did not waive the defenses of

failure to state a claim and failure to join a required party, but Rule 12(g)(2)

prohibits the Secretary from filing a second Rule 12 motion raising those defenses,

except as allowed by Rule 12(h)(2) or (3).

         Rule 12(h)(3) allows a motion to dismiss for lack of subject-matter

jurisdiction, but here the Secretary’s motion is unfounded; this is a colorable claim

arising under federal law over which the court has subject-matter jurisdiction.

Rules 12(h)(2) and (3) do not allow a party to move to dismiss for failure to state a

claim or failure to join a required party after having omitted the defense from a

first Rule 12 motion responding to the same pleading. In any event, here the

complaint states a claim and does not fail to join a required party.

         At least under an unpublished Eleventh Circuit decision, the Secretary

waived the exhaustion defense by failing to include it in the first Rule 12 motion.

See Brooks v. Warden, 706 F. App’x 965, 968-70 (11th Cir. 2017). In any event,

the plaintiff apparently exhausted his remedies under the Department of

Corrections’ grievance process. The Secretary has not asserted the contrary.

Instead, the Secretary asserts the plaintiff should have filed a petition to amend the



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rule allowing the Department to deprive the plaintiff of his music. The assertion is

unfounded. A prisoner must exhaust the remedies available under the grievance

process, but a prisoner need not initiate a rulemaking proceeding. See, e.g., Torres

v. Fla. Dep’t of Corr., No. 4:15cv464-RH-CAS (N.D. Fla. Sept. 11, 2017), aff’d on

other grounds, 742 F. App’x 403 (11th Cir. 2018).

         For these reasons,

         IT IS ORDERED:

         The motion to dismiss, ECF No. 31, is denied.

         SO ORDERED on May 30, 2019.

                                        s/Robert L. Hinkle
                                        United States District Judge




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